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UNITED STATES DISTRICT COURT
CENTRAL DI STRICT OF CALIFORNIA

JENNIFER WOODING, On Behalf
Of Herself, A11 Others Similarly
Situated and the General Public,

Plaintiff,
v.

MONSTER ENERGY COMPANY,
MONSTER BEVERAGE
CORPORATION F/K/A HANSEN
NATURAL CORPORATION, and
DOES 1-10,

Defendants.

 

 

CaS€ NO.: SACV12-209O DOC (JPRX)

CLASS ACTION

FIRST AMENDED CLASS ACTION
COMPLAINT FOR:

1. VIOLATIONS 'OF CONSUMERS
LEGAL REMEDIES ACT, Civil
Code §1750 et seq.;

2. VIOLATION OF THE UNFAIR
COMPETITION LAW, Business
and Pr<)fessions Code §17200 et
seq.;

3. BREACH OF EXPRESS
WARRANTY;

4. BREACH OF IMPLIED
WARRANTY; and

5. UNJUST ENRICHMENT
DEMAND FOR JURY TRIAL

 

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FIRST AMENDED COl\/IPLAINT FOR DAMAGES AND DEI\/IAND FOR JURY TRIAL

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Plaintiff ilennifer Wooding (“Plaintiff”) brings this action on behalf of
herself and all others similarly situated against Defendants l\/lonster Energy
Company, Monster Beverage Corporation f/k/a Hansen Natural Corporation and
Does 1-10 (collectively “Defendants” or “l\/lonster”) and states:

JURISDICTION AND VENUE

1. This action Was initially brought on November 5, 2012 in the Superior
Cou1t of the State of California, County of Orange ~ Civil Complex Center (Case
No. 30-2012~00609716~CU-BT-CXC, Hon. Nancy W. Stock).

2. On December 3, 2012, this action vvas removed from the above venue
by Defendants l\/lonster Energy Company and Monster Beverage Corporation
pursuant to 28 U.S.C. §§ 1332, 1441, 1446 and 1453 on the grounds that the action
Was removable under the Class Action Fairness Act of 2005. Defendants conceded
the amount in controversy exceeds the $5,000,000, exclusive of interest and costs,
threshold, that the requisite diversity vvas present and that no there vvere no
applicable exclusions of the Class Action Fairness Act of 2005.

NATURE OF ACTION

3. This is a consumer protection class action lawsuit about Defendants’
false and misleading advertising of an energy drink containing an extremely
dangerous and potentially lethal ingredient epigallocatechin-3~gallate (“EGCG”).
Defendants manufacture, distribute, market and sell an energy drink called

“Monster Rehab Green Tea + Energy” (also referred to as the “Product”), vvhich

 

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contains EGCG. The labeling for Monster Rehab Green Tea + Energy appears

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4. Through its advertising and labeling, Defendants make the express
and implied representations that Monster Rehab Green Tea + Energy is a healthful
and rehydrating version of an energy drink. Defendants’ advertising and labeling
promotes that Monster Rehab Green Tea + Energy is a non-carbonated, low
calorie, green tea-sports drink, which contains coconut water, acai and goji berries,

pineapple juice, electrolytes, and is loaded With EGCG. Defendants’ advertising

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FIRST AMENDED COMPLA[NT FOR DAMAGES AND DEMAND FOR JURY TRlAL
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and labeling promotes Monster Rehab Green Tea + Energy as what you need to
“rehabilitate” after a “hard day’s night.” ln reality, consuming Monster Rehab
Green Tea + Energy is dangerous and potentially lethal.

5. At no time herein, did Defendants make any attempt to warn
consumers, including Plaintiff and the Class herein, that l\/lonster Rehab Green Tea
+ Energy with its EGCG ingredient is a toxic and potentially lethal beverage that is
well-documented in the medical literature to be associated with liver injuries, that
the Product could cause serious adverse side effects, that persons with known liver
conditions should not use the Product, that the Product should not be used in
conjunction with or shortly after drinking alcohol, that the Product should not be
used on a continuous basis, that it should not be taken on an empty stomach, that
consumers cannot self-identify in advance of taking the Product whether they are
likely to be susceptible to injury from the Product, or that use of the Product should
cease and a doctor consulted upon appearance of symptoms of liver problems such
as abdominal pain, dark urine or jaundice.

6. Contrary to Defendants’ express and implied representations and
warranties, which Plaintiff and the Class relied on to their detriment, Monster
Rehab Green Tea + Energy is dangerous lnstead of being the safe energy drink
that Defendants promised, Monster Rehab Green Tea + Energy causes dangerous
hepatotoxic side effects, including without limitation, death, acute liver failure,

hepatitis and other liver injuries Despite knowing that Monster Rehab Green Tea

 

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+ Energy could result in severe injury and even death, Defendants marketed and
sold Monster Rehab Green Tea + Energy to tens of thousands of unsuspecting
consumers without any warning `whatsoever.

7. Additionally, Defendants sold and continue to sell Monster Rehab
Green Tea + Energy to tens of thousands of consumers through broad-based
advertising and marketing campaigns that promote Monster Rehab Green Tea +
Energy for its ability to “RE-FRESH, RE~HYDRATE, RE~VIVE, or in other
words, Re~habilitate”, and by comparing it to sports drinks. Defendants’
advertising and marketing also implies that Monster Rehab Green Tea + Energy
should be used to rehydrate (or “Rehab”) after a long night of partying or drinking
alcohol.

~ 8. Defendants failed to inform consumers, including Plaintiff and the
Class herein, that while Monster Rehab Green Tea + Energy may contain
electrolytes which can aid in rehydration, unlike the sports drinks which contain
electrolytes that Defendants compare their product to, consuming Monster Rehab
Green Tea + Energy will likely to lead to dehydration due to the large amount of
caffeine (a diuretic) in the Product.

9. ' As a result of misrepresentations and omissions to their customers
about the safety and efficacy of the l\/lonster Rehab Green Tea + Energy,

Defendants have taken millions of dollars from these consumers

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_California. During the class period, and before making her purchases, Plaintiff

 

 

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10. Defendants’ advertising campaign has been extensive and
comprehensive, and they have conveyed these deceptive messages of safety and
efficacy to consumers throughout the United States. Defendants conveyed and
continue to convey their deceptive claims about Monster Rehab Green Tea +
Energy through a variety of media, including point of sale displays, magazines, the
lnternet and on Monster Rehab Green Tea + Energy’s packaging A reasonable
consumer would not buy Monster Rehab Green Tea + Energy at any time, and
especially not after a night of heavy drinking or with preexisting liver conditions,
knowing that it contained a known liver toxin (EGCG), in addition to diuretics.

1 l. Plaintiff brings this action on behalf of herself and other similarly
situated consumers who purchased Monster Rehab Green Tea + Energy in order to
halt the dissemination of this false and misleading advertising campaign, correct
the false, deficient and misleading labeling, and to obtain redress for those who
have purchased Monster Rehab Green Tea + Energy. Plaintiff alleges violations of
the Consumers Legal Remedies Act, the Unfair Competition Law, breach of
express warranty, breach of implied warranty, and unjust enrichment

PARTIES

Plaintiff

12. Plaintiff Jennifer Wooding is a resident of Huntington Beach,

Wooding was exposed to, read and relied on Defendants’ advertising claims,

 

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including Monster Rehab Green Tea + Energy’s labeling 111 or about July or
August of2012, Plaintiff Wooding purchased for approximately $3 each four
Monster Rehab Green Tea + Energy cans from 7-Eleven in Huntington Beach, CA.
Plaintiff Wooding purchased Monster Rehab Green Tea + Energy believing it was
reasonably safe and believing it was effective for its advertised use. Plaintiff did
not know that ordinary consumption of the Product created serious adverse health
risks or that it was ineffective for its advertised benefits when she purchased the
Product. As a result of her purchases, Plaintiff Wooding suffered injury in fact and
has lost money and property as a result of the unfair, deeeptive, untrue and
misleading advertising described herein, including the purchase price for products
that are of little or no value and are dangerous Had Plaintiff Wooding known of
the potential health risks or that l\/lonster Rehab Green Tea + Energy was
ineffective for the advertised benefits she would not have purchased Monster
Rehab Green Tea + Energy.

Defendants

13. Defendants Monster Energy Company and Monster Beverage
Corporation f/k/a Hansen Natural Corporation (collectively “l\/IEC”) are California
corporations headquartered in Corona, CA. Since April 2002, l\/IEC was and is
regularly engaged in the business of licensing, manufacturing, formulating,
packaging, distributing, marketing, advertising, and/or selling, either directly or

indirectly, through third parties or related entities, so-called energy drink dietary

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supplement products for sale to, and use by, members of the general public
throughout the country, including Monster Rehab Green Tea + Energy. According
to Symphony lRl, l\/lEC’s “Rehab” line of Monster Energy drinks, which are
available in five flavors - Rojo, Protean, Orangeade, Green Tea, and Tea +
Lemonade -_ ranked number nine among the top twenty energy drinks in the United
States for 2011 with $125.8 million in sales b

14. At all times herein alleged, each of the acts of the employees were on
behalf of, for the benefit of, at the direction of, and at the behest of l\/IEC and were
ratified by MEC. Further, each of the acts of the employees were done pursuant to
and in accordance with corporate policy.

15. The true names or capacities, whether individual, corporate, or
otherwise, of Defendant DOES 1 through 10, inclusive, are unknown to Plaintiff
who is therefore ignorant of the true names and sues said Defendants by such
fictitious names Plaintiff believes and alleges that each of the Defendants
designated herein by fictitious names is in some manner legally responsible for the
events and happenings herein referred to and caused damages proximately and
foreseeably to Plaintiff and the Class as alleged herein.

16. At all times hereinafter alleged, “Defendants” include all herein
named Defendants as well as Defendants DOES 1 through 10, inclusive.

17. At all times herein alleged, each of the Defendants was the agent,

servant, partner, aider and abettor, co-conspirator and joint venturer of each of the

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remaining Defendants herein and was at all times operating and acting within the
purpose and scope of said agency, service, employment, partnership, conspiracy
and joint venture and rendered substantial assistance and encouragement to the
other Defendants, knowing that their conduct constituted a breach of duty owed to
Plaintiff and the Class

FACTUAL ALLEGATIONS

T he M ouster Rehab Green Tea + En-er,qv Product

18. ln 2011, Defendants launched its “Monster Rehab®” line of non-
carbonated rehydration energy drinks with electrolytes in 155-ounce aluminum
cans Defendants first launched the Monster Rehab Tea + Lemonade flavor in
February 2011, and followed that up by introducing three other flavors, including
Monster Rehab Green Tea + Energy, in October 2011.

19. Monster Rehab Green Tea + Energy is a trademarked product
marketed and sold by Defendants As depicted on its label, Monster Rehab Green
Tea + Energy contains the following ingredients:

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20. Throughout the class period, Monster Rehab Green Tea + Energy
contained ingredients that caused it to be dangerous Specifically Monster Rehab
Green Tea + Energy contains the ingredient epigallocatechin-3-gallate (also known
as, and hereinafter referred to, as “EGCG”), a dangerous ingredient, with known
hepatoxic effects including death, acute liver failure, hepatitis and other side
effects involving the liver.

21. Monster Rehab Green Tea + Energy also does not work as advertised

Monster Rehab Green Tea + Energy contains high amounts of caffeine, which is a

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diuretic and does not provide the rehydration benefits as represented in
2 Defendants’ advertising and labeling.
EGCG, a Dangerous In,¢zredient Il1v0lved in the Market Withdrawal of
5 Numerous Dietarv Supplements, Finds Its Wav Into F 00[1 Beverages
22. EGCG is a tea catechin found in green tea.
23. However, numerous studies going back to the late 19903 recognized
9 the liver-toxic effects of EGCG when used in the doses present in dietary
supplements

24. Between 1999 and 2003, 13 cases oflivery injury from Exolise (an
13 EGCG product) were reported in France and Spain. In response, on April 4, 2003,
the French Food Safety Agency of Health Products and Spanish health authorities
recalled Exolise from the market. This was followed by a recall from lreland and
17 several other European countries

25. Nevertheless, looking for a replacement to ephedra after it was banned
by the FDA in 2004, dietary supplement manufacturers in the United States began

21 using EGCG in their products

22
26. Once such product containing EGCG carried the brand name
23
24 Hydroxycut. Between 2002 and 2009, the Food and Drug Administration (FDA)

25 received 23 Adverse Event Reports of Hydroxycut-associated liver toxicity.

27. FDA confronted the manufacturer of Hydroxycut stating that:

 

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Three lines of evidence derived from multiple disparate sources

2 suggest it is very likely that exposure to Hydroxycut capsules/caplets
3
can cause idiosyncratic hepatotoxicity.
4
5 28. ln response to the FDA’s confrontation, on l\/lay 1, 2009, the

6 manufacturer of the EGCG-containing Hydroxycut line withdrew all 14 products
7 from the market. The recall received considerable coverage in publications from
9 FDA and'national news sources such as the Wall Street Journal, the New York
10 Times and the Los Angeles Times Hundreds of lawsuits were filed across the
country against the manufacturer of Hydroxycut. The injuries ranged from

13 hepatitis to liver transplants and death.

14 29. Meanwhile, the peer-reviewed medical literature on the liver toxicity
15
l 6 of products containing EGCG as well as serious adverse events reporting liver

17 injuries from EGCG products around the globe continued to mount.

18 30. In or about October 201 1, Defendants introduced Monster Rehab

;: Green Tea + Energy to the market.

21 31. Despite the overwhelming publicity, regulatory action and medical

:: literature on the toxicity of EGCG in the 15 years preceding introduction of

24 Monster Rehab Green Tea + Energy to the market, at no time did Defendants make

25 any attempt whatsoever to warn consumers, including Plaintiff and the Class, that
an ingredient of Monster Rehab Green Tea + Energy, EGCG, is a known liver

28 toxin, that the Product could cause serious adverse side effects, that persons with

 

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known l_iver conditions should not use the Product, that the Product should not be
2 used in conjunction with or shortly after drinking alcohol, that the Product should
not be used on a continuous basis, that it should not be taken on an empty stomach,
5 that consumers cannot self-identify in advance of taking the Product whether they
6 are likely to be susceptible to injury from the Product, or that use of the Product

7 should cease and a doctor consulted upon appearance of symptoms of liver

9 problems such as abdominal pain, dark urine or jaundice.

10 Defendants’ Monster Rehab Green T ea + Energy Claims

32. Defendants conveyed their deceptive claims about Monster Rehab

13 Green Tea + Energy through a variety of media, including magazines the lnternet,

14 at parting events, and on`the Monster Rehab Green Tea + Energy labels and
15 '
16 packaging
17 33. Since the launch in October 2011, prominently placed on Monster
18 Rehab Green Tea + Energy’s label (pictured above) Defendants have consistently
l9
20 made the following claims:
21
22 _ .
Our friends at the Rehab pool party in Vegas know all about
23 v
24 recovering from a long night and together we came up with Monster
25 Rehab® Green Tea + Energy.
26
27
28

 

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4 ¢ Nj 1 '

Naturally loaded with EGCG antioxidants, infused with coconut

2 water_, quercetin, acai berry and goji berry. Monster Rehab® Green

: Tea + Energy delivers a triple threat that quenches thirst, hydrates like
5 a sports drink, and brings you back after a hard day`s niglit.

6

7

8 Monster Rehab® Green Tea + Energy: RE-FRESH, RE-HYDRATE,
9 RE-VIVE, or in other words, 7Re-habilitate with a killer mix of green
10 tea, pineapple juice, electrolytes, and our bad-ass Monster Rehab®
:; energy blend to fire you up.

13

14 Rehab The Beast!

:: 34. Defendants repeat and reinforce these same claims about Monster

17 Rehab Green Tea + Energy on their website.l On information and belief, the

181 labeling and website for Monster Rehab Green Tea + Energy have not changed

19

20 since the Product was introduced to the market.

21 35. 1n addition to failing to disclose the dangers associated with Monster
:: Rehab Green Tea + Energy, Defendants make several misrepresentations on their
2 4 labeling and in their advertising Defendants aggressively advertise Monster Rehab

25 Green Tea + Energy as a hydration beverage. (See excerpted Product labeling

 

27 1 See Ex. B hereto (http://www.monsterenergy.com/us/en/products/rehab/ -

28 !/pi‘oducts%3Agreen-tea (accessed 01/301/2013)).

 

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above, Exhibit B). Despite the representation that Monster Rehab Green Tea +
2 Energy will “hydrate like a sports drink,” Monster Rehab Green Tea + Energy

contains caffeine, which at the level contained in the Product and to the ordinary

4

5 consumer like Plaintiff and the Class, will act as a diuretic. These diuretic effects

6 make Monster Rehab Green Tea + Energy ineffective as a hydration beverage

; The representation is further false and misleading since Monster Rehab Green Tea
9 + Energy is nothing like a sports drink: not only does it contain less electrolytes

10 than the leading sports drinks, it contains large amounts of caffeine. This stands in
:; stark contrast to the leading sports drinks which contain 110 caffeine. Thus, unlike

13 sports drinks, and contrary to Defendants’ representations Monster Rehab Green

14 Tea + Energy does not hydrate.
15
l 6 36. Furthermore, contrary to Defendants’ representation that Monster

17 Rehab Green Tea + Energy is “naturally” loaded with EGCG, on information and

18 belief, the EGCG contained in Monster Rehab Green Tea + Energy is synthetic.
19
20 Thus, the representation that the Product is “naturally” loaded with EGCG is both

21 false and misleading Defendants’ natural representations are further likely to

22 4 _ _

mislead consumers by providing reassurance that Monster Rehab Green Tea +
23
24 Energy is safe because ofthe reasonable perception “natural” supplements are

25 more healthful and less dangerous than synthetic, chemically produced dietary

supplements

 

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37. Additionally, Monster Rehab Green Tea + Energy’s labeling gives no
2 indication of how much EGCG is contained in the Product. To the contrary, the
label merely lists the “Rehab Energy Blend” as containing 3200 mg and further

5 lists numerous ingredients in the proprietary blend, without any indication of the

6 amount of each ingredient There was no legal restriction preventing such

7 disclosure, and in order for the Plaintiff and Class to be adequately informed of the
9 risks attendant to Monster Rehab Green Tea + Energy such disclosure was

10 reasonable and necessary. This omission was misleading and has prevented
ordinary consumers from discovering the serious dangers involved in consuming

13 Monster Rehab Green Tea + Energy. Had any consumer been aware of the

14 serious dangers of the Product, including Plaintiff and the Class, they would not

:: have purchased it. Thus, the omission was material.

17 38. Defendants’ l\/lonster Rehab Green Tea + Energy was created in

18 conjunction with “Rehab Pool Party,” a Las Vegas pool party notorious for

19

220 excessive drinking Defendants’ claims in its advertising and labeling that l\/lonster

21 Rehab Green Tea + Energy will help you “recover from a long night” and “bring[s]

22

you back after a hard day’s night” in the context of Rehab Pool Party explicitly and
23
24 implicitly encourage consumers to use Monster Rehab Green Tea + Energy after a

25 long night of drinking alcohol. Defendants made these claims knowing that the
Product contains diuretics and liver toxic ingredients, which further harms the

28 livers of consumers who have been up all night drinking alcohol.

 

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39. The health problems associated with Monster Rehab Green Tea +

2 Energy manifest themselves when consumers consume the Product at
recommended dosage levels and even without drinking alcohol. Nevertheless, the
5 toxic effects of Monster Rehab Green Tea + Energy are more pronounced when

6 consumers use it as recommended: after a long night of drinking alcohol. So too

7 are the toxic effects pronounced when used by consumers with preexisting liver

9 conditions, when taken on an empty stomach or when used on a chronic basis

10 40. As alleged herein, Monster Rehab Green Tea + Energy is misbranded
and adulterated and Defendants engaged in false advertising under California law,

13 which imposes obligations on food and dietary supplement manufacturers

14 including without limitation, California Health and Safety Code §§ 110290,
15 '
16 110245 etseq., 110380, 110100, 110085, 110390 etseq.,110660, 110422, 110670,

17 110680, 110705,110760, 110765, 110445,110550, 110545,'110620, 110625,
110630, and related regulations and common law.
41. The purpose of these laws is to protect consumers, like Plaintiff and

21 the Class, from exposure to untested and unsafe products and ingredients, and to

22
provide consumers like Plaintiff and the Class with adequate and truthful
23
24 information about the safety, efficacy and content of the product. These laws

25 impose upon Defendants an affirmative duty to warn consumers, including
Plaintiff and the Class, of the consequences of customary use of the product such

28 as adverse side effects caused by ingredients within the product, of

 

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contraindications, and any other information that will allow the consumer to make
2 a fully-informed decision about whether to purchase and/or consume the product.

These laws were designed to prevent the exact injuries alleged here. But by selling

4
5 Monster Rehab Green Tea + Energy with EGCG, and without adequate warnings

6 about EGCG, Defendants have put consumers, including Plaintiff and the Class, at
; a significant and unreasonable risk. No reasonable consumer would have

9 purchased or consumed Monster Rehab Green Tea + Energy if they knew that the
10 Product was unsafe and ineffective

:; 42. Notwithstandiiig significant and mounting evidence that Monster

13 Rehab Green Tea + Energy contains ingredients which pose significant health

14 risks, Defendants continue to market the Product.
15
l 6 43. Despite the evidence of significant health risks, Defendants continue

17 to make material misrepresentations and omissions in their advertising for Monster

1 ' . . . .

8 Rehab Green Tea + Energy, including on the Product’s packaging and labeling
19 ` .
20 44. The advertising, marketing and promotion of Monster Rehab Green

21 Tea + Energy was and remains deceptive and misleading in that it conceals the

22 . . . . ' . .

risks of liver injury and other serious health risks that Defendants knew or should
23
24 have known, including without limitation that the EGCG contained in l\/lonster

25 Rehab Green Tea + Energy is a toxic and potentially lethal ingredient that is well-
documented in the medical literature to be associated with liver injuries, that the

28 Product could cause serious adverse side effects, that persons with known liver

 

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conditions should not use the Product, that the Product should not be used in

2 conjunction with or shortly after drinking alcohol, that the Product should not be
used on a continuous basis, that it should not be consumed on an empty stomach,

5 that users cannot self-identify in advance of taking the Product whether they are

6 susceptible to injury from the Product, or that use of the Product should cease and
a doctor consulted upon appearance of symptoms of liver problems such as

9 abdominal pain, dark urine or jaundice.

10 45. Defendants similarly knew, or in the exercise of reasonable care ought
to have known, that l\/lonster Rehab Green Tea + Energy does not provide the

13 hydration benefits as advertised

14 46. Defendants’ “Monster Rehab” line of its energy drinks has been a
15
l 6 huge sales success ln the opening paragraph of its 2011 Annual Statement,

17 Defendants report that “ln 2011, our gross sales were $1.95 billion, compared to

18 . . . . . . . . .

$1.49 billion in the previous year. This achievement was primarily attributable to
19
20 increased sales of Monster Energy® drinks ..and in particular to our new Monster

21 Rehab® line which was originally launched in March 2011 .” And according to

212
Defendants’ CEO, the margins on Monster’s Rehab brand, which retails for
23
24 approximately $3 per can, are better than many ofDefendants’ other products
25 ///
26
///
27
28 ///

 

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CLASS DEFINITION AND ALLEGATIONS

2 47. Plaintiff brings this lawsuit on behalf of herself and the proposed
Class members under Rules 23(b)(2) and (3) of the Fedei‘al Rules of Civil
5 Procedure The proposed Class consists of:

6 All persons who purchased Monster Rehab Green Tea + Energy until the

7 date notice is disseminated to the Class Excluded from the Class are Defendants

9 and their officers, directors and employees and those who purchased l\/lonster

10 Rehab Green Tea + Energy for the purpose of resale

48. Numerosity. The members of the Class are so numerous that their

13 individual joinder is impracticable Plaintiff is informed and believes, and on that

14 basis alleges, that the proposed Class contains many thousands of members The
:: precise number ofClass members is unknown to Plaintiff.

17 49. Existence and Predominance of Common Questions of Law and
18 Fact. Common questions of law and fact exist as to all members of the Class and
19

20 predominate over any questions affecting only individual Class members These

21 common legal and factual questions include, but are not limited to, the following:

22 . . ` . .
(a) whether Defendants had adequate substantiation for their claims

23

24 prior to making them, including without limitation that Monster Rehab Green Tea

25 + Energy provides hydration benefits, that Monster Rehab Green Tea + Energy is
naturally loaded with EGCG, and that Monster Rehab Green Tea + Energy

28 rehydrates, revives, and rehabilitates;

 

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(b) whether Monster Rehab Green Tea + Energy was reasonably
2 safe for consumption, specifically including whether the presence of EGCG in the

Product presented a significant or unreasonable risk to Plaintiff and the Class;

5 (c) whether Defendants concealed or omitted material information
6 concerning the safety of l\/lonster Rehab Green Tea + Energy, specifically
; including the safety of EGCG;

9 (d) whether the claims discussed above are true, or are misleading
10

or reasonably likely to deceive;

(e) whether Defendants’ alleged conduct violates public policy;

12
13 (f) whether the alleged conduct constitutes violations of the laws
14 .

asserted herein;
15
16 (g) whether Defendants engaged in false or misleading advertising;
17 (h) whether Plaintiff and Class members have sustained monetary
18

loss and the proper measure of that loss;
19
20 (i) whether Plaintiff and Class members are entitled to an award of

21 punitive damages; and

(j) whether Plaintiff and Class members are entitled to declaratory

24 and injunctive relief.

25 50. Typicality. Plaintist claims are typical of the claims of the members
26
of the Class in that Plaintiff asserts the same claims
27 `
28

 

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51. Adequacy 0fRepresentati0/1. Plaintiff will fairly and adequately
2 protect the interests of the members of the Class Plaintiff has retained counsel
highly experienced in complex dietary supplement cases, and Plaintiff intends to
5 prosecute this action vigorously. Plaintiff has no adverse or antagonistic interests
6 to those of the Class
52. Superiority. A class action is superior to all other available means for
9 the fair and efficient adjudication of this controversy. The damages or other
10 financial detriment suffered by individual Class members is relatively small
compared to the burden and expense that would be entailed by individual litigation

13 of their claims against the Defendants lt would thus be virtually impossible for

14 the Class, on an individual basis, to obtain effective redress for the wrongs done to
15 `

them.
16
17 53. Unless a class is certified, Defendants will retain monies received as a
18 . . .

result of their conduct that was taken from Plaintiff and proposed Class members
19 `
20 Unless a classwide injunction is issued, Defendants will continue to commit the

21 violations alleged, and the members of the Class and the general public will

22
continue to be inisled.
23
24 54. Defendants have acted and refused to act on grounds generally

25 applicable to the Class, making appropriate final injunctive relief with respect to

the Class as a whole

28 ///

 

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l COUNTI

2 Violations of the Consumers Legal Remedies Act,

: California Civil Code §1750 et seq.

5 55. Plaintiff realleges and incorporates by reference the allegations
6 contained in the paragraphs above as if fully set forth herein.

7

56. This cause of action is brought pursuant to the Consumers Legal

9 Remedies Act, California Civil Code §1750 et seq. (the .“Act”). Plaintiff is a

10 consumers as defined by California Civil Code §1761(d). l\/lonster Rehab Green
Tea + Energy is a good within the meaning of the Act.

13 57. Defendants violated and continue to violate the Act by engaging in the
following practices proscribed by California Civil Code §1770(a) in transactions
with Plaintiff and the Class which were intended to result in, and did result in, the

17 sale of Monster Rehab Green Tea + Energy:

18 (5) Representing that [l\/lonster Rehab Green Tea + Energy] [has] .
19
20 . . characteristics . . . uses [or] benefits . . . which they do not have . . .
21
22 >< >'< ><
23 ~
24 (7) Representing that [l\/lonster Rehab Green Tea + Energy] [is] of
25 a particular standard, quality, or grade . . . if [it is] of another.
26
>K >l< >l<
27
28

 

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l (9) Advertising [Monster Rehab Green Tea + Energy] . . . with

2 intent not to sell [it] as advertised
3 >'< >'< >'<
4
5 (16) Representing that the [l\/lonster Rehab Green Tea + Energy] has
6 . been supplied in accordance with a previous representation when it
7
has not.
8
9 58. Defendants violated the Act by, as described herein, affirmatively
10 representing through their advertisements and labeling that Monster Rehab Green
1 l
12 Tea + Energy was safe and effective as described above when they knew, or should

13 have known, that the representations and advertisements were unsubstantiated,

14 false and misleading
15
l 6 59. Pursuant to California Civil Code §1782(d), Plaintiff and the Class

17 seek a Court order enjoining the above-described wrongful acts and practices of

18 Defendants and for restitution and disgorgement
19
20 60. Pursuant to §1782 of the Act, Plaintiff notified Defendants in writing

21 by certified mail of the particular violations of §1770 of the Act and demanded that

22 Defendants rectify the problems associated with the actions detailed above and

23

24 give notice to all affected consumers oftheir intent to so act.

25 61. Defendants failed to rectify or agree to rectify the problems associated
:: with the actions detailed above or give notice to all affected consumers within 30
28

 

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days of the date of written notice pursuant to §1782 of the Act. Therefore, Plaintiff

2 further seeks actual, punitive and statutory damages as appropriate

3

» 62. Defendants’ conduct is malicious fraudulent and wanton.

4

5 63. Pursuant to Civ. Code §1780(d), attached hereto as Exhibit A is the

6 affidavit showing that this action has been commenced in the proper forum.

8 COUNT II

9 Violations of California Business and Professions Code §17200 et seq.
10 64. Plaintiff realleges and incorporates by reference the allegations

:; contained in the paragraphs above as if fully set forth herein.

13 1 65. California Business and Professions Code §17200 prohibits any

14 “unlawful,” “fraudulent” or “unfair” business act or practice and any false or

:: misleading advertising For the reasons discussed above, Defendants have

17 engaged in unlawful, fraudulent, unfair, deceptive, untrue and misleading business

18 acts in violation of California Business and Professions Code §17200.
19
20 66. California Business and Professions Code §17200 prohibits any

21 “unlawful . . . business act or practice.” As set forth more fully herein, Defendants

22 . . . .
have violated §17200’$ prohibition against engaging in unlawful acts and practices

23
24 by, inter alia:

25 (a) making false and misleading statements

26 '
(b) making claims without any competent or reliable scientific

27
28 evidence or substantiation that such claims are truthful and not misleading

 

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l ` (c) omitting suppressing and concealing material facts

2 (d) selling a food or dietary supplement that presents a significant
: and unreasonable risk of illness or injury when used as labeled, and

5 (e) selling a product that contains untested, dangerous dietary
6 ingredients

; 67. ln the course of such conduct described herein, Defendants engaged in
9 unlawful acts inviolation of California Civil Code §§1572, 1573, 1709, 1710,

10 1711, 1770, California Business and Professions Code §17200 et seq., California
:; Health and Safety Code §§ 110290, 110245 etseq., 110380, 110100, 110085,

13 110390 etseq., 110660, 110422, 110670, 110680, 110705, 110760, 110765,

14 110445, 110550, 110545, 110620, 110625, 110630, as well as violating related

:: regulations and the common law.

17 68. Plaintiff and the Class reserve the right to allege other violations of

18 law which constitute other unlawful business acts or practices Such conduct is

;: ongoing and continues to this date

21 69. California Business and Professions Code §17200 also prohibits any
:: “fraudulent business act or practice”

24 70. _ Defendants’ claims nondisclosures and misleading statements as

25 more fully set forth above and collectively as a scheme, were false, misleading

and/or likely to deceive the consuming public within the meaning of California

 

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Business and Professions Code §17200. For example, Defendants engage in the
2 following conduct which is fraudulent and misleading
(a) Defendants’ claim that Monster Rehab Green Tea + Energy is
5 “naturally loaded with EGCG,” is false and misleading because the EGCG used is
6 not natural; on information and belief, the EGCG present in Monster Rehab Green
7 Tea + Energy is synthetically engineered;
9 (b) Defendants’ claims that Monster Rehab Green Tea + Energy
10 “hydrates like a sports drink,” and that it will “RE-HYDRATE, RE-Vl\/E, or in
other words Re-habilitate” are false and misleading because Monster Rehab Green

13 Tea + Energy contains large amounts of caffeine, a diuretic, which is not present in

14 sports drinks and acts to dehydrate not hydrate;
15
16 (c) Defendants’ promotion of the Product “while recovering from a

17 long night” and to “bring you back after ahard day’s night,” that in the context of a

18 product named and labeled after Rehab Pool Party, encourages and represents the
19 _
20 product to be safe and effective for use after a long night of drinking alcohol,

21 when, in fact, the diuretics and liver toxins in Monster Rehab Green Tea + Energy
make the Product especially dangerous for use after a long night of drinking
1 24 alcohol; and

25 (d) The labeling and advertising for Monster Rehab Green Tea +
Energy fails to reveal material facts including without_limitation that EGCG is

28 well-documented in the medical literature to be associated with liver injuries that

 

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the Product could cause serious adverse side effects that persons with known liver
2 conditions should not use the Product, that'the Product should not be used in
conjunction with or shortly after drinking alcohol, that the Product should not be
5 used on a continuous basis that it should not be consumed on an empty stomach,
6 that consumers cannot self-identify in advance of taking the Product whether they
; are likely to be susceptible to injury from the Product, or that use of the Product
9 should cease and a doctor consulted upon appearance of symptoms of livei
0 problems such as abdominal pain, dark urine or jaundice.
71. California Business and Professions Code §17200 also prohibits any

13 “unfair . . . business act or practice.”

14 72. Defendants’ acts as alleged herein also constitute “unfair” business
15
l 6 acts and practices within the meaning of California Business and Professions Code

17 §17200 et seq., including but not limited to:

18 . 1 . .

(a) making false and misleading statements
19

b makin claims without an com etent or reliable scientific
20 g y 15

21 evidence or substantiation that such claims are truthful and not misleading;

(c) omitting suppressing and concealing material facts in the
advertising and labeling for Monster Rehab Green Tea + Energy, including
25 without limitation that EGCG is well-documented in the medical literature to be
associated with liver injuries that the Product could cause serious adverse side

28 effects that persons with known liver conditions should not use the Product, that

 

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the Product should not be used in_ conjunction with or shortly after drinking
2 alcohol, that the Product should not be used on a continuous basis that it should
not be consumed on an empty stomach, that consumers cannot self-identify in

5 advance of taking the Product whether they are likely to be susceptible to injury

6 from the Product, or that use of the Product should cease and a doctor consulted
; upon appearance of symptoms of liver problems such as abdominal pain, dark
9 urine or jaundice;

10 (d) selling a food or dietary supplement that presents a significant
:; and unreasonable risk of illness or injury when used as labeled, in particular

13 because ordinary consumers cannot know in advance of using the Product whether

14 they are susceptible to injury from the Product; and
15
16 (e) selling a Product that contains untested, dangerous dietary

17 ingredients

18 . . . . . .
73. These above acts constitute “unfair” business acts and practices within

19

20 the meaning of California Business and Professions Code §17200 et seq. in that the

21 conduct is substantially injurious to consumers offends public policy, and is

22 .

immoral, unethical, oppressive and unscrupulous as the gravity of the conduct and
23
24 potential harm to consumers outweighs any alleged benefits attributable to such
25 conduct.
26 » » ~ o v l n

74. California Business and Professions Code §17200 also prohibits any

27

28 “false or misleading advertising.” Defendants’ misrepresentations and omissions

 

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throughout its advertising and labeling for Monster Rehab Green Tea + Energy is
2 false and misleading 'F or example, Defendants engage in the following conduct
that constitutes false and misleading labeling and advertising

5 (a) Defendants’ claim that l\/lonster Rehab Green Tea + Energy is
6 “naturally loaded with EGCG,” is false and misleading because the EGCG used is
not natural; on information and belief, the EGCG present in Monster Rehab Green
9 Tea + Energy is synthetically engineered;
10 1 (b) Defendants’ claims that Monster Rehab Green Tea + Energy
“hydrates like a sports drink,” and that it will “RE-HYDRATE, RE-VIVE,- or in

13 other words Re-habilitate” are false and misleading because Monster Rehab Green

14 Tea + Energy contains large amounts of caffeine, a diuretic, which is not present in
:: sports drinks and acts to dehydrate not hydrate;

17 (c) Defendants’ promotion of the Product “while recovering from a
18 long night” and to “bring you back after a hard day’s night,” that in the context of a
19

20 product named and labeled after Rehab Pool Party, encourages and represents the

21 product to be safe and effective for use after a long night of drinking alcohol,

22

when, in fact, the diuretics and liver toxins in Monster Rehab Green Tea + Energy
23 '
24 make the Product especially dangerous for use after a long night of drinking

25 alcohol; and

(d) The labeling and advertising for Monster Rehab Green Tea +

28 Energy fails to reveal material facts including without limitation that EGCG is

 

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well-documented in the medical literature to be associated with liver injuries that
2 the Product could cause serious adverse side effects that persons with known liver
conditions should not use the Product, that the Product should not be used in
5 conjunction with or shortly after drinking alcohol, that the Product should not be
used on a continuous basis that it should not be consumed on an empty stomach,
that consumers cannot self-identify in advance of taking the Product whether they
9 are likely to be susceptible to injury from the Product, or that use of the Product
10 should cease and a doctor consulted upon appearance of symptoms of liver

problems such as abdominal pain, dark urine or jaundice.

12

13 75. Defendants’ conduct caused and continues to cause substantial injury
14 to Plaintiff and the other Class members Plaintiff and Class members have

15

16 suffered injury in fact and have lost money as a result of Defendants’ unlawful,

17 unfair and fraudulent conduct in addition to their fraudulent and misleading

18 . .
advertising
19 '
20 76. There were reasonably available alternatives to further Defendants’

21 legitimate business interests other than the conduct described herein.

22
77. Unless restrained and enjoined, Defendants will continue to engage in
23
24 the above-described conduct. Accordingly, injunctive relief is appropriate
25 78. Plaintiff, on behalf of herself individually, all others similarly situated,
26
and the general public, seeks restitution and disgorgement of all money obtained
27

28 from Plaintiff and the members of the Class collected as a result of unfair

 

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competition, an injunction prohibiting Defendants from continuing such practices
2 corrective advertising including providing notification of l\/lonster Rehab Green
Tea + Energy’s health risks and all other relief this Court deems appropriate,

5 consistent with Business & Professions Code §17203.

6 CoUNT 111

; Breach of Express Warranty

9 79. Plaintiff realleges and incorporates by reference the allegations
10 contained in the paragraphs above as if fully set forth herein.

:; 80. Plaintiff, and each member of the Class formed a contract with

13 Defendants at the time Plaintiff and the other members of the Class purchased

18 Monster Rehab Green Tea + Energy. The terms of that contract include the
15
16 promises and affirmations of fact made by Defendants on the l\/lonster Rehab

17 Green Tea + Energy packaging and through their marketing campaign, as

18 . . . .
described above Monster Rehab Green Tea + Energy’s packaging and advertising

19

20 constitutes express warranties became part of the basis of the bargain, and is part

21 of a standardized contract between Plaintiff and the members of the Class on the

22
one hand, and Defendants on the other.
23
24 81. As detailed above, Defendants expressly warranted that l\/lonster

25 Rehab Green Tea + Energy:

26

(a) is “Naturally loaded with EGCG,”
27
28 1 (b) “hydrates likes a sports drink,”

 

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(c) will “RE-HYDRATE, RE-VIVE, or in other words Re-
2 habilitate,” and
(d) that it will help the consumer “recover from a long night,” and
5 “bring[s] [them] back after a hard day’s night.”

82. The foregoing are a representative non-exhaustive sample of

\ICJ`\

numerous misrepresentations made by Defendants during the course of their

00

advertising campaign. At the time of making these and other warranties with

10 respect to the efficacy and characteristics of l\/lonster Rehab Green Tea + Energy,

11

12 Defendants knew or should have known that despite the above and other

13 warranties alleged herein, it had breached the terms of this contract, including the

14 express warranties with Plaintiff and the Class by providing l\/lonster Rehab Green
:: Tea + Energy which could not provide the benefits described above

17 83. Plaintiff and the Class purchased Monster Rehab Green Tea + Energy
18 for its ordinary and intended purpose

;: 84. Due to Defendants’ wrongful conduct as alleged herein, Plaintiff and

21 the Class did not and could not have discovered the nature of the risks and side

22

effects associated with the Monster Rehab Green Tea + Energy or that l\/lonster
23
24 Rehab Green Tea + Energy was not effective for its adveitised benefits and uses

25 until the instigation of this lawsuit. By virtue of the notice given pursuant to Civil

26
Code § 1782 and this Complaint for Damages Plaintiff and the Class have in fact

27
28

 

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given notice of Defendants’ breach within a reasonable time after discovering the
2 breach.
85. As a direct and proximate result of Defendants’ breach of their

5 contract, including the breach of express warranties with respect to Monster Rehab

6 Green Tea + Energy, Plaintiff suffered injuries as set forth above, entitling Plaintiff
; to judgment and equitable relief against Defendants, as well as restitution,

9 including all monies paid for the Monster Rehab Green Tea + Energy and

10 disgorgement of profits from Defendants received from sales of Monster Rehab

:; Green Tea + Energy, attorneys’ fees, punitive damages, and costs, as set forth in

13 the Prayer for Relief.

14 86. All conditions precedent to Defendants’ liability under this contract,
:: including notice, have been performed by Plaintiff and the Class.

17 COUNT IV

18 2 BREACH OF IMPLIED WARRANTY

;: 87. Plaintiff repeats and realleges each and every allegation contained

21 above as if fully set forth herein.

22

88. The Uniform Commercial Code §2-314 provides that, unless excluded
23
24 or modified, a warranty that the goods shall be merchantable is implied in a

25 contract for their sale if the seller is a merchant with respect to goods of that kind.

89. At all times, California has codified and adopted the provisions the

 

FIRST AMENDED CoMPLAiNT FoR DAMAGEs AND DEMAND FoR JURY TRlAL
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Uniform Commercial Code governing the implied warranty of merchantability:
2 Cal. Comm. Code §2314.

90. Monster Rehab Green Tea + Energy is a “good,” as defined in the
5 California Commercial Code.

6 91. As designers, manufacturers, licensors, producers, marketers, and
7 sellers of the Monster Rehab Green Tea + Energy, Defendants are “merchants”
9 within the meaning of the California Commercial Code.

10 92. By placing Monster Rehab Green Tea + Energy in the stream of
commerce, Defendants impliedly warranted that Monster Rehab Green Tea +

13 Energy is reasonably safe, effective and adequately tested for its intended use, i.e.,

14 to be used to rehydrate, revive, rehabilitate, and as a food beverage or dietary

:: supplement, and that it is of merchantable quality.

17 93. As merchants of Monster Rehab Green Tea + Energy, Defendants
18 knew that purchasers relied upon them to design, manufacture, license and sell

19 v

20 dietary supplements that were reasonably safe and effective, and in fact members

21 of the public, including Plaintiff and the Class, reasonably relied upon the skill and
judgment of Defendants and upon said implied warranties in purchasing and

24 consuming Monster Rehab Green Tea + Energy.

25 94. Plaintiff and the Class members purchased Monster Rehab Green Tea
26
+ Energy for its intended purpose.
27
28

 

FIRST AMENDED COl\/lPLAlNT FOR DAl\/IAGES AND DEl\/IAND FOR JURY TRIAL
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95. ln breach of Defendants’ implied warranties, Monster Rehab Green

2 Tea + Energy is unsaf`e, ineffective and not merchantable for ways which include,
but are not limited to the fact, that EGCG, an ingredient in Monster Rehab Green

5 Tea + Energy, is a toxic and potentially lethal ingredient that is well-documented

6 in the medical literature to be associated with liver injuries, that Monster Rehab

7 Green Tea + Energy could cause serious adverse side effects, that persons with

9 known liver conditions should not use the Monster Rehab Green Tea + Energy,

10 that Monster Rehab Green Tea + Energy should not be used in conjunction with or
shortly after drinking alcohol, that Monster Rehab Green Tea + Energy should not

13 be used on a continuous basis, that Monster Rehab Green Tea + Energy should not

14 be taken on an empty stomach, that consumers cannot self-identify in advance of
15
l 6 taking Monster Rehab Green Tea + Energy whether they are susceptible to injury

17 by taking the Product, that consumption of Monster Rehab Green Tea + Energy

18 .
should cease and a doctor consulted upon appearance of symptoms of liver

19

20 problems such as abdominal pain, dark urine or jaundice, and Monster Rehab

21 Green Tea + Energy is not and has not been proven to be effective for its intended

22 . . . .
uses by competent and reliable scientlfic evidence.
23
24 96. Monster Rehab Green Tea + Energy was not reasonably safe for its

25 intended use when it left Defendants’ control and entered the market.
97. Monster Rehab Green Tea + Energy’s defects were not open or

28 obvious to consumers, including Plaintiff and the Class, who could not have

 

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known about the nature of the risks and side effects associated with l\/lonster Rehab
2 Green Tea + Energy until after they purchased or used it.
98. As a direct and proximate result of Defendants’ breach of implied

5 warranties, Plaintiff and Class members have sustained injuries by purchasing

6 Monster Rehab Green Tea + Energy, which were not safe or effective as

; represented, thus entitling Plaintiff to judgment and equitable relief against

9 Def`endants, as well as restitution, including all monies paid for Monster Rehab

10 Green Tea + Energy and disgorgement of profits from Defendants received from
:; sales of Monster Rehab Green Tea + Energy, attorneys’ fees, punitive damages,

13 and costs, as set forth in the Prayer for Relief.

14 COUNT v

15

16 Unjust Enrichment

17 99. Plaintiff repeats and realleges each and every allegation contained

18 above as if fully set forth herein.

2: lOO. At all times relevant hereto, Defendants designed, manufactured,

21 licensed, produced, promoted, marketed and/or sold the ineffective, dangerous and
:: improperly labeled Monster Rehab Green Tea + Energy.

24 101. Plaintiff and members of the Class conferred upon Defendants non-

25 gratuitous payments for Monster Rehab Green Tea + Energy that was not safe and
effective as advertised, and exposed them to serious illnesses, which can be fatal.

28 Defendants accepted or retained the non-gratuitous benefits conferred by Plaintiff

 

FIRST AI\/IENDED COl\/IPLAINT FOR DAMAGES AND DEMAND FOR JURY TRlAL
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and members of the Class, with full knowledge and awareness that, as a result of
2 Defendants’ unconscionable wrongdoing, Plaintiff and members of the Class were
not receiving products of the quality, nature, fitness or value that had been

5 represented by Defendants and reasonable consumers would have expected.

6 102. Retaining the non-gratuitous benefits conferred upon Defendants by
; Plaintiff and members of the Class under these circumstances made Defendants’
9 retention of the non-gratuitous benefits unjust and inequitable

10 103. Defendants’ retention of the non-gratuitous benefits conferred by

:; Plaintiff and members of the Class is unjust and inequitable

13

14 PRAYER FoR RELIEF

:: Wherefore, Plaintiff prays for a judgment:

17 A. Certifying the Class as requested herein;

18 B. That the Court adjudge and decree that Defendants have engaged in

;: the conduct alleged herein;

21 C. Awarding declaratory and injunctive relief as permitted by law or

:: equity, including: enjoining Defendants from continuing the unlawful practices as

24 set forth herein, and directing Defendants to identify, with Court supervision,

25 victims of their conduct and pay them restitution and disgorgement of all monies
acquired by Defendants by means of any act or practice declared by this Court to

23 be wrongful;

 

FlRST AMENDED COl\/lPLAlNT FOR DAl\/IAGES AND DEl\/IAND FOR JURY TRlAL
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D. Ordering Defendants to engage in a corrective advertising campaign;
2 E. Awarding Plaintiff and the proposed Class members actual damages;
F. Awarding restitution of property and disgorgement of profits to

5 Plaintiff and the other Class members;

6 G. Awarding Plaintiff and the Class punitive damages;
7
8 H. Awarding Plaintiff and the Class treble damages;
9 l. Awarding attorneys’ fees and costs; and
10 J. Providing such further relief as may be just and proper
1 1
12
13 JURY DEMAND
14 Plaintiff demands a trial by jury on all issues so triable
15

16
17 '

 

18
Dated: _1/31/2013
19
20 'ANDREWS & THORNTON
ANNE ANDREWS (103280)
21 JOHN C. THORNTON (84492)
22 SEAN THOMAS HIGGINS (266888)

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23 1 Irvine, CA 926()2

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25 aa@andrewsthornton.com
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FIRST Al\/IENDED COl\/lPLAlNT FOR DAl\/IAGES AND DEl\/IAND FOR JURY TRIAL
-39

 

 

 

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Exhibit A

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6 jct@andrewsthornton.com
shiggins@andrewstliornton.com

Attorneys for Plaintiffs

9
10
l l UNITED STATES DISTRICT COURT
12 CENTRAL DlSTRICT OF CALIFORNIA
13
)

14 JENNIFER WOODING, On Behalf`) Case No.: SACV12-2090 DOC (.1PRx)
of Herself, All Others Similarly )
Situated and the General Public, ) DECLARATI()N OF SEAN T. HIGGINS

 

16 ) PURSUANT TO CAL. CIVIL CODE
17 Plaintiff, ) Section 1780
v )
18 v. )
19 )
MONSTER ENERGY )
20 COMPANY, MONSTER )
21 BEVERAGE CORPORATION )
F/K/A _HANSEN NATURAL )
22 CORPORATION, and DOES 1-10,)
23 2
Defendants. )
24
25
26
27
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DECLARAT|ON OF SEAN T H|GG|NS-1

 

 

 

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§ c

DECLARATION OF SEAN T. HIGGINS
2 l, Sean T. Higgins, declare as follows:
l. l am an associate at Andrews & Thomton and l am licensed to practice law

5 in all courts in the state of California.

O`\

2. l am filing this affidavit on behalf of Plaintiff Jennifer Wooding.

\l

3. At all times alleged in the accompanying Complaint for Damages, Plaintiff
Wooding resided in Grange County, California.
10 4. At all times alleged in the accompanying Complaint for Damages, Plaintiff

12 Wooding purchased the products at issue in Orange County, California.

13 5. Thus, this action was commenced in this county as a proper place for trial of

111 this action since Plaintiff both resides in Orange County and the transaction at

15
16 issue occurred in Orange County.
17 ///

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DECLARAT|ON OF SEAN T H|GG|NS-2

 

 

 

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l l certify and declare under penalty of perjuiy under the laws of the State of
2 California that the foregoing is true and correct.
3
4
5
6
7
8
9
10 Dated: 1/31/2013
1 1 Anne Andrews (SBN. 103280)
12 John C. Thornton (SBN. 84492)
ANDREWS & THORNTON
13 2 Corporate Park, Suite 110
14 lrvine, California 92606
Phone: (949) 748-1000
15 Facsimile: (949) 315-3540
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DECLARAT10N OF sEAN T HlGGlNS-S

 

 

 

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EXhibit B

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